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                                                    May 21, 2012


        VIA ELECTRONIC FILING

        Hon. Pamela Pepper
        E.D. Wisconsin
        517 E. Wisconsin Avenue
        Milwaukee, WI 53202

                Re:    Spencer v. City of Milwaukee et al
                       E.D. Wis. Case # 16-CV-0662

        Dear Judge Pepper:

                At the May 4, 2021 status conference, the Court requested the parties prepare and identify
        when this matter would be ready for trial after Attorney Sue Lappen had the ability to review the
        file. However, Attorney Lappen has taken an extended leave.

               Attorney Robin Pederson has now taken over the handling of this matter, and he and I
        spoke today about the case status.

               The parties agree that mediation is not likely to lead to any success, and therefore request
        the scheduling of a trial date, likely in December 2021 or later.

                                                      Very truly yours,

                                                      CADE LAW GROUP LLC



                                                      Nathaniel Cade, Jr.
        NC:cn


        cc:     Robin Pederson, Esq. (via ECF only)




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